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Dear Hon. Judge runheim ,                                    M//rr,vffi,fftl,figtcouRr
                                                                         - "''' Jr'$i)fr
   ,I am writing this Iet.ter as a rebutt.al to the prosecution's
response to my motion for compassionate release. I understand that
it is the prosecutors job to make me sound as:-bad as:possible'.in
order to stop my motion from being granted. When t.hey lie aboul
things in order to make what I say untrue, it doesn't sit well
with me.
    I have a few things I need to clarify for you. 1.) The prosec-
uLor said I have servedttabouttt half of my senLence. I want to say
that I have served 10 months over the halfway point of my sentence.
In fact,, I only have 4 years left to serve, plus I qualify for
the Residental Drug Treatment. Program and am eligible for the year
off. That combined with the minimal 6 month halfway house I am
acfually scheduled t,o be potentially released in roughly 2 years.
The word "abouti'".rgg"rt not quit.e. It was also said that I don't.
have support.ing evidence Lhat my parents health is the way I said
it was. I have had bot.h of my parents medical records s€nt in and
I know t,hat. my federal public defender has them so there is no
reason why the prosecut,or has not seen them. Since their reeords
are the most critical part of my argument, for compassionate release.
Please take a look at their medical records before you make a dec-
isionr you will see for yourself how frail my parents are.
    It was also said that I have not proved that I am the only
available caregiver and haven't evn addressed it,. I want Lo address
that.now. I am an only child between my two parents but there is
one half brother who works 50 hours or more a week out of town and
a half sister who lives in Wyoming. She doesn'L even know my children
and to have them move there would be wrong. She has her own life and
family going on out there and my children are going to school and
have friends in Albert Lea Minnesota. There is no one else.
    It was also said that l am still a danger t.o the community. I
would like to say that I am in no way a violent person or danger to
the communiy. I was addicted to Meth 9.years-ago and have been sober
every since 20L2. I have had a job and have been t.aking college
classes my whole time incarcerated. In fact, I am current.ly classified
as a Iow level cusEodY inmate who is
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scheduled to be sent to a low level custody facility. This would
not be possible if I was a threat to the community, the BOP has
safe quards in place such as management variables for inmates who
are deemed threats to the community, i.e. public safety factors.
There is no way f will ever go back to using drugs again, because
I have two daughters now that f didn't have when I was using.
   f also understand that if a court grants a sentence reductlon
it may 'limpose a term of supervised release with or without
conditions that does not exeed the unserved portion of the original
term of imprisonment" S 3582(c)(1)(A). rn imposing a term of
supervised release, the.court may impose a period of home confin-
ement as a condition of supervised release, provideil th;rt t-h,?
court finds that home confinement is a "substitute for imprison-
ment" U.S.S.c. $ Sff .Z; See 1g U.S.C. S 35g3(d). Alrernatively, a
court may consider modifying an existing term of supervised relea,-
se to add a period of home confinement consistant with u.s.s.G. s
 58L.2, See S :SA:(e)(Z).
    This would make it possible for me to be Lhere to take care of
my children and relieve the stress iL is causing on my already
frail parents since they need help just as much as my children do.
Please Lake a look at there medical records before you decide, and
note that my mother just fell down and had to be life flighted in
a helicopter to have emergency surgery on her neck & spine and now
has no feeling in her hands. My father has a nerve condition call-
ed neuropathy where he has a lost feeling in his hands & feet and
is not even strong enough to hang a hanger in the closet due to
his numerous shoulder surgeries.
   According to t'he legal definition of the word "i.ncapacitated" .my
parents are both legally incapacitated and are my childrens
primary earegivers. For this reason I should be able to receive
compassionate release.
   This term means that a person cannot perform there usual funct-
ions or duties due to menLal or physical disabilities. My parents
are bot,h disabled and in an emergency situation are not able to
react putting my children and parents safety at risk. They need
someone else in there household and that person should be me your
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honor. Please see that my adult record reflects that I am only a
Person that has had a drug problem and noLhing else. I don't rob
people or mess with weapons of any kind, and am in no way a
danger to society.

Dated: October   A7 ,202!
                                               Sincerely I{ritten

                                               /s/ (j,^     t^hydtu
                                               ffi
